      Case:18-05288-EAG11 Doc#:347 Filed:04/20/20 Entered:04/20/20 13:39:12                     Desc:
                          Order Granting (Generic) Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:                                                    Case No. 18−05288 EAG

SKYTEC INC
                                                          Chapter 11

66−0564236

                                                          FILED & ENTERED ON 4/20/20
                        Debtor(s)



                                                      ORDER

The motion filed by Debtor to withdraw Docket #339 and #340 (docket #342) is hereby granted .

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Monday, April 20, 2020 .
